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Attorneys for Plaintiff




                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION




 SOTERO GARCIA CHAVEZ,                         Civil No. 3:22-cv-00107-IM

                          Plaintiff,
                                               DECLARATION OF JOSEPH SUAREZ IN
                 vs.                           SUPPORT OF PLAINTIFF’S UNOPPOSED
                                               MOTION TO EXTEND DISCOVERY AND
 UNITED STATES OF AMERICA ET                   OTHER PRETRIAL DEADLINES
 AL.,

                           Defendants.




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Joseph Suarez declares as follows:

   1.   I am one of the attorneys for Plaintiff in this case. I make this Declaration to support of

        Plaintiff’s unopposed motion to extend the pretrial dates.

   2. The Motion accompanying this Declaration is the first request for extension of pretrial

        deadlines in this action.

   3.   No trial date has been set.

   4. On March 15, 2023, counsel for Plaintiff and County Defendants held the Initial

        Conference of Counsel for Discovery Planning pursuant to L.R. 26-1.

   5. On March 22, 2023, the Rule 16(b) planning and scheduling conference was held.

   6. On April 4, 2023, Plaintiff served his initial discovery requests.

   7. By May 1, 2023, parties exchanged their initial disclosures per FRCP 26(a)(1).

   8. On May 5, 2023, County Defendants responded to Plaintiff’s discovery requests. Counsel

        for Counsel Defendants indicated that County Defendants will supplement the initial

        production and is unable to provide an exact timeline due to the number of documents to

        review.

   9. Counsel for Plaintiff attempted to schedule depositions in June 2023 but Counsel for

        County Defendants suggested that depositions be scheduled in mid-July 2023 based on

        his involvement in other cases between now and mid-July 2023, deponents’ schedules,

        and ongoing production.

   10. Parties have tentatively scheduled depositions for the week of July 17 and July 24, 2023.




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   11. Plaintiff has made a good faith effort to complete discovery in a reasonable period of

       time. Plaintiff has not been able to complete discovery and requests sixty additional days

       to do so.

   12. Counsel for County Defendants does not oppose this motion.

       I declare under penalties for perjury of the laws of the United States that the foregoing is

true and correct.


DATED this 13th day of June 2023.

                                                                     /s/Joseph Suarez
                                                                     Joseph Suarez, OSB #213960
                                                                     jsuarez@oregonlawcenter.org




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